           CASE 0:22-cv-00736-NEB-LIB Doc. 25 Filed 08/19/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Eric Mackie, et al.,                                       Case No. 22-cv-736 (NEB/LIB)

                       Plaintiffs,

v.                                                                  ORDER

American Honda Motor Co., Inc., et al.,

                       Defendants.


        This matter comes before the undersigned United States Magistrate Judge upon the

routine supervision of the cases that pend before the Court, pursuant to a general assignment

made in accordance with the provisions of 28 U.S.C. § 636.

        More than 90 days have passed since Plaintiffs filed their Complaint, and Plaintiffs have

not provided proof that they have served a summons and a copy of the Complaint on Defendant

Honda Motor Company, Ltd. The Federal Rules of Civil Procedure require a plaintiff to

demonstrate proof of service “within 90 days after the complaint is filed, [or] the court – on

motion or on its own after notice to the plaintiff – must dismiss the action without prejudice

against that defendant or order that service be made within a specified time.” Fed. R. Civ. P.

4(m).

        Therefore, pursuant to the provisions of Rule 4(m), IT     IS   HEREBY        ORDERED

THAT:

     1. Within twenty (20) days after the date of the present Order, Plaintiffs shall provide proof

        of service or demonstrate good cause for an extension of time to serve Defendant Honda

        Motor Company, Ltd.; and
         CASE 0:22-cv-00736-NEB-LIB Doc. 25 Filed 08/19/22 Page 2 of 2




   2. If Plaintiffs fail to comply with the above directive, the undersigned will recommend that

      this action be dismissed as it pertains to Defendant Honda Motor Company, Ltd. for

      failure to effect proper service and failure to prosecute.




Dated: August 19, 2022                                       s/Leo I. Brisbois
                                                             Hon. Leo I. Brisbois
                                                             U.S. MAGISTRATE JUDGE




                                                2
